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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

SABRE INDUSTRIES INC                               CIVIL ACTION NO. 19-cv-934

VERSUS                                             JUDGE DOUGHTY

JOSEPH MCLAURIN                                    MAGISTRATE JUDGE HORNSBY


                                          ORDER

         For the reasons set forth in the Report and Recommendation of the Magistrate Judge

 [Doc. No. 82] previously filed herein, and having thoroughly reviewed the record,

 including the written Objection [Doc. No. 86], and Reply [Doc. No. 87], and, concurring

 with the findings of the Magistrate Judge under the applicable law;

         IT IS ORDERED that Sabre’s motion to find MXS in contempt [Doc. No. 71] is

 GRANTED, and that MXS is found in civil contempt for non-compliance with the Court’s

 discovery order;

         IT IS FURTHER ORDERED that MXS shall pay sanctions to Sabre in the amount

 of $7,500.00 within fourteen (14) days, or no later than November 23, 2020 ; and,

         IT IS FURTHER ORDERED that MXS shall comply with the entirety of the

 remaining Court’s order within seven (7) days, or no later than November 16, 2020.

         THUS DONE AND SIGNED at Monroe, Louisiana, this 9 th day of November,

 2020.

                                               _________________________________
                                                      TERRY A. DOUGHTY
                                                UNITED STATES DISTRICT JUDGE
